Case 2:17-cV-00152-G.]Q-TPG ECF No. 33-2 filed 01/10/18 Page|D.SlZ Page 1 of 2

EXH|B|T B

 

Case 2:17-cv-00152-G.]Q-TPG ECF No. 33-2 filed 01/10/18 Page|D.SlS Page 2 of 2

2014001347 es

 

 

STATE OF Ml(j'l_lGAN lNFORMATlON CASE NO.! 2014001347
91st JUD|CIAL DISTR|CT FELONY DlSTR|CT: 14-57683-'|~FY
50th JUDlClA_I_. ClRCLl_|T ClRCUIT: 15-1646-FH

 

 

District Court OFtl: Ml170015.i Clrcuit Court ORl.' Ml1'!0025.l

 

 

 

 

 

 

 

 

 

 

 

 

 

325 Court Streel, Sal.l|t Sta. Mar|o. Ml 49783 905-635-6320 319 Cour\ Straot Sault Sts. Marlc, M| 49783 908-635-8338
Defendant's name and address ALlAS!
THE PEOPLE OF THE V JOSE ENR|QUE LEFEBRE-TORO
STATE OF MlCHlGAN 12756 S. SHUNK ROAD
DAFTER, Ml, 49724
Co-Dafendant{s)
Complaining Witness Da¢,; on or about
UNDERSHERIFF MlCHAEL BlTNAR 09[21;2014
Cltyfi’wp.Mliage County in Michigan Deiendant TCN Deiendant CTN Defendant SlD Defendant DDB
Drummol"ld leland TnsL C_hippewa GB14412035W 17-14001347-01 4430199L 111'18!19?0
F'°"¢° agency '°P°" “°- charge D'-N TVP°= vehicle 'rype oefendan¢ uLN
CCSD 1552-14 see below OperJChauf L_115_440_23o_383
Wltnesses
UNDERSHER|FF MICHAEL BITNAR DEPUTY RYAN HERR|NG NATHANIEL ERNST
ANNE GRUTH FREDER|CK GUITH ll PAMELA ELL|S
MlCHAEL OGDEN CARRIE LEPFER DET.ISGT. GREG POSTMA
DEPUTY JOE WlAT§R TPR. NATHAN GRENFELI=¢ MICHELLE LEFEBRE

 

STATE OF MICHIGAN, COUNTY OF CHlPPEWA
lN THE NAME OF THE PEOPLE OF THE STATE OF MlCH|GAN: The prosecuting attorney for this County appears before

the court and informs the court that on the date and at the location described above, the defendant

COUNT 1: HOM|CIDE - MANSLAUGHTER - |NVOLUNTARY

did cause the death of Shel|sea Lefebre-Schiel by committing the following act or acts in a grossly negligent
manner, Jose Lefebre-Toro placed a ioaded, uncased rifie with the safety off in a motor vehicle and it was
placed or positioned ln such a manner as to be pointed in the direction of a rear seat passenger and it
dischargedl killing She||sea Lefebre-Schie|; contrary to MCL 750.321. [750.321-0]

FELONV: 15 Years andlor $?,500.00; DNA to be taken upon arrest

COUNT 2: WEAPONS - FIREARMS - POSSESS|ON OF A LOADED FiREARM |N OR UPON A VEHiCLE
did transport in or upon a motor vehicle a certain firearm which was not a pistol or revolver1 to-wit: Remington
Mode| 700 270 Wln with scope, while said firearm was |oaded; contrary to MCL 750.227¢. [750.2270]

HlGH COURT M|SDEMEANOR: 2 Years andfor $2,500.00; Mandatory forfeiture of weapon or device [See

MCL 750.239]

MCR 6.102 Probable Cause Determination is based in part on the police agency report referred to above and
submitted herewith.

Upon conviction of a felony or an attempted felony court shall order law enforcement to collect DNA
identification profiling samples

and against the peace and dignity of the State of Michigarl.

 

 

Prose tng Altom?
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Daie 1 \ l
CTN 17-14001347-0'1 on R EC E l V E D
JAN 2 1 2015
50TH C|RCU|T COURT
CH|PPEWA COUNTY CLERK

 

 

